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                             UNITED STATES DISTRICT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               )
                                       )
v.                                     )       Case No. 21-cr-003 (RCL)
                                       )
JACOB CHANSLEY,                        )
                                       )
      Defendant.                       )


                              NOTICE OF APPEAL

      Pursuant to Federal Rule of Appellate Procedure 4(b), notice is hereby given

that Defendant Jacob Chansley, hereby appeals to the United States Court of Appeals

for the District of Columbia Circuit from the Judgment and Sentence issued by the

United States District Court for the District of Columbia.



Date: November 30, 2021                        Respectfully Submitted,



                                      John M. Pierce
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                                      Attorney for Defendant Jacob Chansley




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                               CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, November 30, 2021, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                            /s/ John M. Pierce
                                           John M. Pierce
